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    _____________________________________________________________________________________
                        85 Broad St., Suite 501, New York, New York 10004
                                 t: 212.471.5100 f:212.471.5150
                                        friedmanvartolo.com

                                                                              September 11, 2018


Hon. Andrew B. Altenburg, Jr.
United States Bankruptcy Court
P.O. Box 2067
Camden, New Jersey 08102


       Re:     In re Thomas M. Johnson
               Case Number 16-29396
               Limited Objection to Debtor’s Motion


Dear Judge Altenburg:

       This office represents SN Servicing Corporation, Servicer for PROF 2013-S3 Legal Title
Trust IV, by U.S. Bank National Association, as Legal Title Trustee (hereinafter ‘Creditor”), the
holder of a mortgage on certain real property of the Debtor, Thomas M. Johnson (hereinafter
“Debtor”), located at 416 Route 73, Winslow Township, New Jersey 08037 (hereinafter the
“Mortgaged Premises”). Please accept this letter in lieu of a more formal response to Debtor’s
Motion to Suspend Mortgage and Plan Payments, which is returnable on September 18, 2008 at
10:00 a.m.

       The instant application, which Debtor filed more than twenty-two months after the
commencement of this action, seeks to suspend mortgage and plan payments for the months of
September, October, and November of 2018. However, the proposed Order is silent as to Debtor’s
post-petition arrears of $2,813.70 for the months of July and August of 2018.

        Although Creditor does not oppose Debtor’s Motion to Suspend Mortgage and Plan
Payments, Creditor respectfully requests that Debtor submit an amended proposed Order
referencing and accounting for the aforementioned post-petition arrears and requiring Debtor to
file a modified plan or obtain a stipulation adjusting plan payments within twenty days of the date
of the Order.
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        Thank you for your time and understanding. Should you have any questions or concerns,
please do not hesitate to contact this office at any time.

                                   Respectfully submitted,


                                   /s/ Jonathan Schwalb
                                   Jonathan Schwalb, Esq.
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

     Jonathan Schwalb, Esq.
     Friedman Vartolo LLP
     85 Broad Street, Suite 501
     New York, New York 10004
     P: (212) 471-5100
     Attorneys for SN Servicing Corporation              Case No.:                 16-29396
                                                                             ____________________

                                                         Chapter:                     13
                                                                             ____________________


     In Re:                                              Adv. No.:           ____________________
     Thomas M. Johnson                                   Hearing Date:         September 18, 2018
                                                                             ____________________
     dba Maxximum Tires & Service
                                                         Hon. Judge:        Andrew B. Altenburg Jr.
                                                                            ____________________




                                     CERTIFICATION OF SERVICE

1. I, ____________________________
       Theodore Weber              :

           ☐ represent ______________________________ in the this matter.

           ☐ am the secretary/paralegal for ___________________________,
                                             Jonathan Schwalb, Esq.      who represents
           ______________________________
           SN Servicing Corporation       in the this matter.

           ☐ am the ______________________ in the this case and am representing myself.



2.         On _____________________________
                    September 11, 2018     , I sent a copy of the following pleadings and/or documents
           to the parties listed in the chart below.
              - Letter Objecting to Motion



3.         I certify under penalty of perjury that the above documents were sent using the mode of service
           indicated.

Date:      _______________________
           September 11, 2018                            /s/ Theodore Weber
                                                         __________________________________
                                                         Signature
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 Name and Address of Party Served           Relationship of               Mode of Service
                                           Party to the Case
Thomas M. Johnson                                              ☐ Hand-delivered
dba Maxximum Tires & Service
                                         Debtor(s)             ☐ Regular mail
416 S. Route 73
Hammonton, NJ 08037                                            ☐ Certified mail/RR
                                                               ☐ E-mail
                                                               ☐ Notice of Electronic Filing (NEF)
                                                               ☐ Other _____________________
                                                                 (as authorized by the court *)

Eric Clayman                                                   ☐ Hand-delivered
Jenkins & Clayman
412 White Horse Pike                    Debtor(s) Attorney     ☐ Regular mail
Audubon, NJ 08106                                              ☐ Certified mail/RR
                                                               ☐ E-mail
                                                               ☐ Notice of Electronic Filing (NEF)
                                                               ☐ Other _____________________
                                                                 (as authorized by the court *)

Isabel C. Balboa                                               ☐ Hand-delivered
Chapter 13 Standing Trustee
Cherry Tree Corporate Center            Trustee                ☐ Regular mail
535 Route 38 - Suite 580                                       ☐ Certified mail/RR
Cherry Hill, NJ 08002
                                                               ☐ E-mail
                                                               ☐ Notice of Electronic Filing (NEF)
                                                               ☐ Other _____________________
                                                                 (as authorized by the court *)

Jennifer R. Gorchow                                            ☐ Hand-delivered
Office of the Chapter 13 Standing
Trustee                                 Trustee                ☐ Regular mail
535 Route 38                                                   ☐ Certified mail/RR
Suite 580
Cherry Hill, NJ 08002                                          ☐ E-mail
                                                               ☐ Notice of Electronic Filing (NEF)
                                                               ☐ Other _____________________
                                                                 (as authorized by the court *)



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